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SA/IC: USAO 2023R00364

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. *  CRIMINALNO, VAC POCRS
SAMUEL SWEELEY, m (Involuntary Manslaughter,
* 18 U.S.C. §§ 7 and 1112(b); Driving
Defendant * Under the Influence of Alcohol,
* 36 C.F.R. § 4.23; Reckless Driving,
* 36 C.F.R. § 4.2, Assimilating Md.
* Transp. Art. § 21-901.1(a); Speeding,
* 36 C.F.R. § 4.21(c))
*
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INDICTMENT
COUNT ONE

(Involuntary Manslaughter)
The Grand Jury for the District of Maryland charges that:
On or about September 4, 2022, in the District of Maryland, the defendant,
SAMUEL SWEELEY,

on lands within the special maritime and territorial jurisdiction of the United States, did
unlawfully kill Victim One in the commission of an unlawful act not amounting to a felony, to
wit: (1) operating a motor vehicle while under the influence of alcohol to a degree that rendered
the defendant incapable of safe operation and while the alcohol concentration in his blood was
0.08 grams or more of alcohol per 100 milliliters of blood, in violation of 36 C.F.R. § 4.23;

(2) driving a vehicle in a manner that indicated a wanton and willful disregard for the safety of

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persons and property, in violation of 36 C.F.R. § 4.2, assimilating Md. Transp. Art.

§ 21-901.1(a); and (3) speeding, in violation of 36 C.F.R. § 4.21(c).

18 U.S.C. § 1112(b)
18 U.S.C. §7

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COUNT TWO
(Driving Under the Influence of Alcohol)

The Grand Jury for the District of Maryland further charges that:
On or about September 4, 2022, in the District of Maryland, the defendant,
SAMUEL SWEELEY,
on lands administered by the National Park Service, did operate a motor vehicle while under the
influence of alcohol to a degree that rendered him incapable of safe operation and while the
alcohol concentration in his blood was 0.08 grams or more of alcohol per 100 milliliters of

blood.

36 CFR. § 4.23

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COUNT THREE
(Reckless Driving)

The Grand Jury for the District of Maryland further charges that:
On or about September 4, 2022, in the District of Maryland, the defendant,
SAMUEL SWEELEY,
on lands administered by the National Park Service, did drive a motor vehicle in a manner that
indicated a wanton and willful disregard for the safety of persons and property.

36 C.F.R. § 4.2,
Md. Transp. Art. § 21-901.1(a)

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COUNT FOUR
(Speeding)

The Grand Jury for the District of Maryland further charges that:
On or about September 4, 2022, in the District of Maryland, the defendant,
SAMUEL SWEELEY,

on lands administered by the National Park Service, did unlawfully operate a motor vehicle at a

speed in excess of the posted speed limit.

36 CER. § 4.21(c)

Feld. Parton Ry

Erek L. Barron
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED vate [D-Ab-23

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